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                                                                                           FINNEGAN
                               United States District Court
            Northern District of Illinois − CM/ECF NextGen 1.7.1.1 (Chicago)
                     CIVIL DOCKET FOR CASE #: 1:23−cv−14060

De Priest et al v. Walgreen Co. et al                    Date Filed: 09/25/2023
Assigned to: Honorable Jorge L. Alonso                   Jury Demand: Plaintiff
Demand: $9,999,000                                       Nature of Suit: 360 P.I.: Other
Cause: 28:1332 Diversity−(Citizenship)                   Jurisdiction: Diversity
Plaintiff
Hannah De Priest                           represented by John E Tangren
Individually and on Behalf of All Others                  DiCello Levitt LLP
Similarly Situated                                        Ten North Dearborn St.
                                                          Sixth Floor
                                                          Chicago, IL 60602
                                                          312−214−7900
                                                          Email: jtangren@dicellolevitt.com
                                                          ATTORNEY TO BE NOTICED

                                                          Adam J. Levitt
                                                          DiCello Levitt Gutzler LLC
                                                          Ten North Dearborn Street
                                                          Sixth Floor
                                                          Chicago, IL 60602
                                                          (312) 214−7900
                                                          Fax: Not a member
                                                          Email: alevitt@dicellolevitt.com
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Frizell Johnson                            represented by John E Tangren
Individually and on Behalf of All Others                  (See above for address)
Similarly Situated                                        ATTORNEY TO BE NOTICED

                                                          Adam J. Levitt
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Ruben Varela                               represented by John E Tangren
Individually and on Behalf of All Others                  (See above for address)
Similarly Situated                                        ATTORNEY TO BE NOTICED

                                                          Adam J. Levitt
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED


V.
Defendant
Walgreen Co.

Defendant
Publix Super Markets, Inc.

Defendant
Kenvue, Inc.

Defendant
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McNeil Consumer Healthcare

Defendant
Procter & Gamble Company

Defendant
CVS Pharmacy, Inc.

Defendant
Glaxosmithkline LLC


Date Filed   #   Docket Text
09/25/2023    1 COMPLAINT filed by Ruben Varela, Frizell Johnson, Hannah De Priest; Jury
                Demand. Filing fee $ 402, receipt number AILNDC−21138773. (Attachments: # 1
                Civil Cover Sheet Civil Cover Sheet)(Levitt, Adam) (Entered: 09/25/2023)
09/25/2023       CASE ASSIGNED to the Honorable Jorge L. Alonso. Designated as Magistrate Judge
                 the Honorable Sheila M. Finnegan. Case assignment: Random assignment. (axk, )
                 (Entered: 09/25/2023)
09/25/2023       CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States Magistrate Judge
                 of this court is available to conduct all proceedings in this civil action. If all parties
                 consent to have the currently assigned United States Magistrate Judge conduct all
                 proceedings in this case, including trial, the entry of final judgment, and all post−trial
                 proceedings, all parties must sign their names on the attached Consent To form. This
                 consent form is eligible for filing only if executed by all parties. The parties can also
                 express their consent to jurisdiction by a magistrate judge in any joint filing, including
                 the Joint Initial Status Report or proposed Case Management Order. (axk, ) (Entered:
                 09/25/2023)
10/02/2023    2 ATTORNEY Appearance for Plaintiffs Hannah De Priest, Frizell Johnson, Ruben
                Varela by Adam J. Levitt (Levitt, Adam) (Entered: 10/02/2023)
10/03/2023    3 ATTORNEY Appearance for Plaintiffs Hannah De Priest, Frizell Johnson, Ruben
                Varela by John E Tangren (Tangren, John) (Entered: 10/03/2023)
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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS

HANNAH DE PRIEST, FRIZELL JOHNSON, )          Case No. ________________
and RUBEN VARELA, Individually and on )
Behalf of All Others Similarly Situated,  )   CLASS ACTION
                                          )
                              Plaintiffs, )
                                          )
       vs.                                )
                                          )
WALGREEN CO.; PUBLIX SUPER                )
MARKETS, INC.; KENVUE, INC.; MCNEIL )
CONSUMER HEALTHCARE; PROCTER & )
GAMBLE COMPANY; CVS PHARMACY, )
INC.; and GLAXOSMITHKLINE LLC,            )
                                          )
                              Defendants.     DEMAND FOR JURY TRIAL
                                          )




                           CLASS ACTION COMPLAINT
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        Plaintiffs Hannah De Priest, Frizell Johnson, and Ruben Varela (collectively, “Plaintiffs”),

individually and on behalf of all members of the public similarly situated, upon personal

knowledge as to themselves and their own acts, and as to all other matters upon information and

belief, based upon the investigation made by the undersigned attorneys, allege as follows:

                                         INTRODUCTION

        1.      Plaintiffs seek damages and equitable relief, individually and on behalf of all other

Class members, for Defendants’ sales of products to be taken orally containing phenylephrine, a

compound that purportedly acts as a decongestant, but that Defendants have long known does no

such thing. Defendants sold these phenylephrine-containing purported decongestants anyway,

generating billions of dollars in sales in the last year alone.

        2.      Phenylephrine is one of two compounds found in nasal decongestants administered

orally and offered for sale on store shelves. The other compound is pseudoephedrine.

Pseudoephedrine itself is effective as a decongestant. However, purchasing pseudoephedrine is

often inconvenient for a consumer because: (a) pseudoephedrine has been used as an ingredient in

illicit methamphetamine laboratories; (b) products containing it are usually placed behind store

counters or in locked cabinets; and (c) purchasers are often forced to leave personal information

every time they purchase it or are otherwise limited in the number of pseudoephedrine-containing

medications they can buy. Consumers are naturally attracted to a decongestant that can be

purchased without attendant inconvenience.

        3.      By contrast, phenylephrine-containing products have no such restrictions and are

not subject to a highly inconvenient buying process. Phenylephrine is found in many popular over-

the-counter oral medications that purportedly act as decongestants—the “Decongestant

Products”—including such popular products produced and/or sold by Defendants, including, but



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not limited to, Sudafed PE (Kenvue1/McNeil Consumer Healthcare), Tylenol Cold & Flu Severe

(Kenvue/McNeil); Benadryl Allergy Plus (Kenvue/McNeil); Theraflu (GlaxoSmithKline);

DayQuil and NyQuil Severe Cold & Flu (Procter & Gamble Company); along with more generic

Decongestant Products produced and sold by, among others, Defendants CVS, Walgreen Co., and

Publix.

          4.   Last year alone, nearly $1.8 billion in sales of phenylephrine-containing purported

decongestants took place in the United States across more than 250 products, accounting for

approximately 80% of the market for over-the-counter decongestants.

          5.   Unknown to the public but known to the manufacturers and distributers in this

lucrative market, phenylephrine taken orally is ineffective. It provides no relief for congestion, and

is no better than a placebo, like a sugar pill, as a decongestant when taken orally.

          6.   Since at least 2007, scientific studies using modern testing methodologies and

rigors have, time and again, shown that phenylephrine taken orally is ineffective. Even still, rather

than acknowledge the truth of these studies, manufacturers and distributers, like Defendants, have

continued to market and sell their products with phenylephrine as effective decongestant medicine.

          7.   As one pharmacist who has led the examination of the efficacy of phenylephrine

summarized it, “if you have a stuffy nose and you take this medicine, you will still have a stuffy

nose.”

          8.   This fact did not discourage Defendants continuing to sell phenylephrine products

and to charge a premium price for those ineffective products.




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    As noted below, Kenvue is a company, founded in February 2022, that prior to a spinoff had
served as the Consumer Healthcare division of Johnson & Johnson. On information and belief, all
assets and liabilities associated with the Decongestant Products that had been manufactured,
marketed, and/or sold by Johnson & Johnson are now owned by Kenvue.

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        9.     Had Plaintiffs known that the phenylephrine-containing products were ineffective

as a nasal decongestant, they would not have purchased them or paid substantially less for them.

        10.    Accordingly, Plaintiffs, on behalf of themselves and all other purchasers of

Defendants’ phenylephrine products, seek to hold Defendants accountable for their deceptions,

breaches of warranties, and violations of consumer protection statutes. Defendants knew these

products were ineffectual. They marketed and sold them anyway.

                                             PARTIES

        11.    Plaintiff Hannah De Priest is a resident and citizen of Illinois. In or around March

2023, Plaintiff De Priest had sinus congestion associated with a cold and purchased from CVS the

Decongestant Products DayQuil Severe Cold and Flu and NyQuil Severe Cold and Flu,

manufactured by Defendant Procter & Gamble Co. and containing phenylephrine for purported

decongestant relief. Plaintiff De Priest paid a premium price for DayQuil and NyQuil because they

contained phenylephrine, but the phenylephrine contained in the DayQuil and NyQuil was

ineffective in relieving Plaintiff De Priest’s congestion.

        12.    In the past, Plaintiff De Priest also purchased other Decongestant Products,

including, but not limited to, Tylenol Cold and Flu Severe (Kenvue) and CVS store brand generic

DayQuil. She has been a regular purchaser of Tylenol products containing phenylephrine since

approximately 2016. Each of these Decongestant Products commanded a premium price because

they contained phenylephrine, but the phenylephrine in each of these Decongestant Products was

ineffective in relieving congestion. All of Plaintiff De Priest’s relevant purchases occurred in

Illinois.

        13.    Plaintiff Frizell Johnson is a resident and citizen of Illinois. In or around September

2023, Plaintiff Johnson had sinus congestion associated with a cold and purchased from CVS the

Decongestant Products Theraflu Severe Cold manufactured by Defendant GlaxoSmithKline, and

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NyQuil Severe Cold and Flu, manufactured by Defendant Procter & Gamble—both containing

phenylephrine for purported decongestant relief. Plaintiff Johnson paid a premium price for

Theraflu and NyQuil because they contained phenylephrine, but the phenylephrine contained in

the Theraflu and NyQuil was ineffective in relieving Plaintiff Johnson’s congestion. All of Plaintiff

Johnson’s relevant purchases occurred in Illinois.

       14.     Plaintiff Ruben Varela is a resident and citizen of Florida. In or around March 2023,

Plaintiff Varela had sinus congestion associated with a cold and purchased from Walgreens and

Publix generic store brand equivalents of the Decongestant Products Sudafed PE and Mucinex—

both containing phenylephrine for purported decongestant relief. Plaintiff Varela paid a premium

price for the products because they contained phenylephrine, but the phenylephrine was ineffective

in relieving Plaintiff Varela’s congestion. All of Plaintiff Varela’s relevant purchases occurred in

Florida.

       15.     Defendant Walgreen Co. (“Walgreens”) is an Illinois corporation with its

headquarters and principal place of business in Deerfield, Illinois. Until December 31, 2014,

Walgreens had no corporate parent. On December 31, 2014, Walgreens became a wholly owned

subsidiary of Walgreens Boots Alliance, Inc. pursuant to a merger to reorganize Walgreen Co. into

a holding company structure. Walgreens refers to itself as “the first global pharmacy-led, health

and wellbeing enterprise” with a purpose of “help[ing] people across the world lead healthier and

happier lives.” Walgreens operates over 8,000 retail pharmacies in all 50 states, the District of

Columbia, Puerto Rico, and the U.S. Virgin Islands. There are nearly 600 Walgreens retail

pharmacies in the State of Illinois alone. Walgreens sells generic versions of Decongestant

Products containing phenylephrine under a “Walgreens” brand.

       16.     Defendant Publix Super Markets, Inc. (“Publix”) is a Florida corporation with its

principal place of business in Lakeland, Florida. Publix is an American retail supermarket chain

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with over 1,300 locations in Alabama, Florida, Georgia, Kentucky, North Carolina, South

Carolina, and Tennessee. Publix sells generic versions of Decongestant Products containing

phenylephrine under a “Publix” brand.

       17.    Defendant Kenvue Inc. (“Kenvue”) is an American consumer health company, and

formerly the consumer healthcare division of Johnson & Johnson. Kenvue is headquartered in

Skillman, New Jersey. It wholly owns Defendant McNeil Consumer Healthcare. On information

and belief, all assets and liabilities associated with the Decongestant Products that had been

manufactured, marketed, and/or sold by Johnson & Johnson are now owned by Defendant Kenvue.

       18.    Defendant McNeil Consumer Healthcare (“McNeil”) is wholly owned by

Defendant Kenvue, with headquarters in Fort Washington, Pennsylvania. McNeil manufactures

and markets numerous Decongestant Products, including, but not limited to, Sudafed PE, a

purported decongestant containing phenylephrine.

       19.    Defendant GlaxoSmithKline LLC (“GSK”) is a Delaware corporation with its

headquarters and principal place of business in Philadelphia, Pennsylvania. GlaxoSmithKline is a

wholly owned subsidiary of GlaxoSmithKline PLC, a public limited company registered in

England and Wales. GlaxoSmithKline is a biopharmaceutical company that, among other

Decongestant Products, manufactures and markets Theraflu.

       20.    Defendant Procter & Gamble Company (“P&G”) is an American multinational

consumer goods corporation headquartered in Cincinnati, Ohio. Among other Decongestant

Products, Procter & Gamble manufactures and markets Nyquil.

       21.    Defendant CVS Pharmacy, Inc. (“CVS”) is a Delaware corporation with its

principal place of business in Woonsocket, Rhode Island. CVS had no corporate parent until 1996,

when it became a wholly owned subsidiary of its current parent, CVS Health Corporation. CVS

operates approximately 9,600 retail pharmacies in all 50 states, the District of Columbia, and

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Puerto Rico. There are approximately 350 CVS retail pharmacies in the State of Illinois. CVS sells

generic versions of Decongestant Products containing phenylephrine under a “CVS” brand.

                                  JURISDICTION & VENUE

        22.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship from

one defendant, there are more than 100 Class members nationwide, and the aggregate amount in

controversy exceeds $5,000,000. This Court also has supplemental jurisdiction over the state law

claims because those claims are integrally related to the federal claims and form part of the same

case and controversy under 28 U.S.C. § 1367.

        23.     This Court has personal jurisdiction over Defendants by virtue of their transacting

and doing business in this District. Defendants have each purposefully availed themselves of the

benefits and protections of the State of Illinois by continuously and systematically conducting

substantial business in Illinois. Each Defendant markets and distributes its products in Illinois.

        24.     The Court additionally and independently has personal jurisdiction over Defendant

Walgreens because Walgreens is located and operates its headquarters in the State of Illinois.

        25.     Venue is proper pursuant to 28 U.S.C. § 1391(a) & (b) because a substantial part

of the events or omissions giving rise to the claims occurred in this District. Defendants maintain

key business operations in this District, and market and sell their products, including Decongestant

Products, in this District.

                                  FACTUAL ALLEGATIONS

The Market for Decongestants

        26.     The market for products that purportedly relieve nasal congestion is worth over $2

billion annually and includes over 250 products.




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       27.     The two leading ingredients purportedly used to relieve nasal congestion are

phenylephrine and pseudoephedrine. These active ingredients are sold as the only active

ingredients in some products, and one or both of them are included as active ingredients in multi-

symptom products.

       28.     Pseudoephedrine-based products are useful as decongestants. However, due to the

misuse of pseudoephedrine as a base to produce illegal methamphetamines, since 2006 federal law

has made products containing pseudoephedrine, while available “over the counter” in the sense

that they can, for the most part, be bought without a doctor’s prescription, inconvenient to buy.

The products are usually behind a pharmacy counter in locked containers, consumers are limited

in the amount they can purchase, and purchasers are often required to provide personal

identification and other information to track the amount of the substance purchased.

       29.     Accordingly, the best-selling products in the decongestant market have been those

that use phenylephrine, which account for approximately 80% of the market for over-the-counter

decongestants. In the last year alone, nearly $1.8 billion of phenylephrine-based purported

decongestants were sold.

The Truth About Phenylephrine

       30.     The problem—until recently unknown to the public, but well known to

Defendants—is that phenylephrine does not work when taken orally. While sold as a decongestant,

it provides no better relief from decongestion than a placebo.

       31.     Scientists have long reported that phenylephrine is ineffective. As Leslie Hendeles,

PharmD and Randy Hatton, PharmD succinctly stated in the Journal of Allergy and Clinical

Immunology in May 2006, “Phenylephrine…is unlikely to provide relief of nasal congestion. It

has poor oral bioavailability because of extensive first-pass metabolism in the gut and liver….

Moreover, in a randomized, double blind, placebo-controlled, crossover study of 3 oral

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decongestants in 20 patients with chronic nasal stuffiness, phenylephrine was no more effective

than placebo in reducing nasal airway resistance.”2

       32.     Scientific studies using modern testing methodologies (using good clinical

practices) and rigors have repeatedly shown that phenylephrine is ineffective. On September 11

and September 12, 2023, the FDA held a non-prescription Drug Advisory Committee Meeting to

discuss the efficacy of oral phenylephrine as a nasal decongestant. The Advisory Committee

explained that multiple studies have shown phenylephrine to be no better than a placebo.

       33.     For example, the committee described a study conducted by Johnson & Johnson

from 2017 to 2018 to evaluate an oral phenylephrine product (Defendant Kenvue was until this

year part of Johnson & Johnson). As explained by the panel, the trial “suggest[ed] no beneficial

effect [of phenylephrine] when compared with placebo.”3

       34.     This was hardly surprising. In 2015, Meltzer et al. conducted a dose-response study

relating to the treatment of nasal congestion. The study subjects were given various combinations

of commercially available oral phenylephrine tablets and a placebo. The “commercially available”

tablet was reported in an editorial published in the same journal as the study to have been Johnson

& Johnson’s (now Kenvue’s) Sudafed PE.4 The results of the study were unequivocal. As the




2
     Leslie Handeles, PharmD and Randy Hatton, Pharm D, Oral phenylephrine: An ineffective
replacement for pseudoephedrine?, 118 J. ALLERGY AND CLINICAL IMMUNOLOGY 1 (May 1, 2006)
(citing Bickerman HA. Physiologic and pharmacologic studies on nasal airway resistance
Presented at a conference sponsored by the Scientific Development Committee of the Proprietary
Association. Washington, DC. December 8, 1971), https://www.jacionline.org/article/S0091-
6749(06)00633-6/fulltext#bib5.
3
    See NDAC Briefing Document: Oral Phenylephrine in the CCABA Monograph at 52,
https://www.fda.gov/media/171915/download.
4
   Hatton & Hendeles, Over the Counter Oral Phenylephrine: A Placebo for Nasal Congestion,
J. ALLERGY AND CLINICAL IMMUNOLOGY PRAC. (Sept/Oct. 2015), https://
pubmed.ncbi.nlm.nih.gov/26362551/.

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authors put it, “we failed to identify a dose for [phenylephrine]…that was significantly more

effective than placebo in relieving nasal congestion….”5

         35.     Nevertheless, Johnson & Johnson—and now freshly spun-off Kenvue—through its

subsidiary Defendant McNeil continued to manufacture and sell its phenylephrine products,

including Sudafed PE.

         36.     Defendants, as manufacturers of the phenylephrine-based products, were each

aware of the studies suggesting that phenylephrine is ineffective as a nasal decongestant.

         37.     As one pharmacist who has led the examination of the efficacy of phenylephrine

summarized it, “if you have a stuffy nose and you take this medicine, you will still have a stuffy

nose.”

               TOLLING OF ALL APPLICABLE STATUTES OF LIMITATIONS

Discovery Rule Tolling

         38.     Plaintiffs and the other Class members had no way of knowing about Defendants’

deception concerning their Decongestant Products. As consumers, they reasonably believed that

the phenylephrine contained within the Decongestant Products offered for sale could act as

decongestants.

         39.     Within the time period of any applicable statutes of limitation, Plaintiffs and the

other Class members could not have discovered through the exercise of reasonable diligence that

Defendants’ Decongestant Products were ineffective as advertised.

         40.     Plaintiffs and the other Class members did not discover and did not know facts that

would have caused a reasonable person to suspect that Defendants did not report information


5
   Meltzer et al., Oral Phenylephrine HCI for Nasal Congestion in Seasonal Allergic Rhinitis: A
randomized, Open-label, Placebo-controlled Study, 3 J. ALLERGY AND CLINICAL IMMUNOLOGY
PRAC. 6 (Sept/Oct 2015), https://www.jaci-inpractice.org/action/showPdf?pii=S2213-2198%2815
%2900252-4

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within their knowledge about the ineffectiveness of their Decongestant Products; nor would a

reasonable and diligent investigation have disclosed that Defendants had concealed such

information about the products’ efficacy, which was only known by Plaintiffs and the other Class

members after the FDA decision in September 2023.

        41.     For these reasons, all applicable statutes of limitation have been tolled through the

discovery rule for the asserted claims.

Fraudulent Concealment Tolling

        42.     All applicable statutes of limitation have also been tolled by Defendants’ knowing

and active fraudulent concealment and denial of the facts alleged herein throughout the time-period

relevant to this action.

        43.     Rather than disclose the truth about their Decongestant Products, Defendants

falsely represented these products as ones that would relieve congestion.

Estoppel

        44.     Defendants were under a continuous duty to disclose to Plaintiffs and the other

Class members the true character, quality, and nature of their Decongestant Products.

        45.     Defendants knowingly, affirmatively, and actively concealed the true nature,

quality, and character of their Decongestant Products.

        46.     Based on the foregoing, Defendants are estopped from relying on any statutes of

limitations in defense of this action.

                                     CLASS ALLEGATIONS

        47.     Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), 23(b)(3), and 23(c)(4)

of the Federal Rules of Civil Procedure on behalf of themselves and all others similarly situated.

        48.     Plaintiffs seek to represent the following Classes:

        All persons who purchased an oral nasal decongestant containing phenylephrine
        manufactured by Defendant Walgreen Co. (the “Walgreens Nationwide Class”).
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       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Walgreen Co. in the State of Florida (the “Walgreens
       Florida Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Walgreen Co. in the State of Illinois (the “Walgreens
       Illinois Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Publix (the “Publix Nationwide Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Publix in the State of Florida (the “Publix Florida
       Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant McNeill Consumer Healthcare/Kenvue (the “Kenvue
       Nationwide Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant McNeill Consumer Healthcare/Kenvue in the State of
       Illinois (the “Kenvue Illinois Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant CVS (the “CVS Nationwide Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant CVS in the State of Illinois (the “CVS Illinois Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant GlaxoSmithKline (the “GSK Nationwide Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant GlaxoSmithKline in the State of Illinois (the “GSK
       Illinois Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Procter & Gamble (the “Procter & Gamble Nationwide
       Class”).

       All persons who purchased an oral nasal decongestant containing phenylephrine
       manufactured by Defendant Procter & Gamble in the State of Illinois (the “Procter
       & Gamble Illinois Class”).

       49.     Excluded from the Classes are the Defendants, and any of the Defendants’

members, affiliates, parents, subsidiaries, officers, directors, employees, successors, or assigns;

the judicial officers, and their immediate family members; and Court staff assigned to this case.
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Plaintiffs reserve the right to modify or amend the Class definition, as appropriate, during the

course of this litigation.

        50.     This action has been brought and may properly be maintained on behalf of the

Classes proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

        51.     Plaintiffs reserve the right before the Court to determine whether certification of

other classes or subclasses are appropriate.

        52.     Certification of Plaintiffs’ claims for classwide treatment is appropriate because

Plaintiffs can prove the elements of their claims using the same evidence as would be used to prove

those elements in individual actions alleging the same claims.

        53.     Numerosity: Rule 23(a)(1): The members of the Classes are so numerous and

geographically dispersed that individual joinder of all Class Members is impracticable. Plaintiffs

are informed and believe that there are hundreds of thousands of members of the Classes based on

the size of the market for decongestant products and Defendants’ share of that market, but the

precise number of Class members is unknown to Plaintiffs.

        54.     Commonality and Predominance: Rules 23(a)(2) and (b)(3): This action

involves common questions of law and fact which predominate over any questions affecting

individual Class members, including, without limitation:

                (a)     when Defendants knew that phenylephrine was ineffective as a

decongestant;

                (b)     whether Defendants sold Decongestant Products as effective;

                (c)     what measures Defendants took to conceal the truth about their

Decongestant Products;

                (d)     Defendants’ duty to disclose the truth about their Decongestant Products;



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                (e)     whether Plaintiffs and the other Class members overpaid for Defendants’

Decongestant Products; and

                (f)     whether Plaintiffs and the other Class members are entitled to equitable and

injunctive relief.

        55.     Typicality: Rule 23(a)(3): Plaintiffs’ claims are typical of the other Class

Members’ claims because, among other things, all Class members were comparably injured

through Defendants’ wrongful conduct as described above. Plaintiffs suffered damages as a direct

proximate result of the same wrongful practices in which Defendants engaged.

        56.     Adequacy: Rule 23(a)(4): Plaintiffs are adequate Class representatives because

their interests do not conflict with the interests of the other members of the Classes they seek to

represent; Plaintiffs have retained counsel competent and experienced in complex class action

litigation; and Plaintiffs intend to prosecute this action vigorously. Plaintiffs and their counsel will

fairly and adequately protect the Class’s interests.

        57.     Declaratory and Injunctive Relief: Rule 23(b)(2): Defendants have acted or

refused to act on grounds generally applicable to Plaintiffs and the other members of the Classes,

thereby making declaratory and injunctive relief appropriate, with respect to each Class as a whole.

        58.     Superiority: Rule 23(b)(3): A class action is superior to any other available means

for the fair and efficient adjudication of this controversy and no unusual difficulties are likely to

be encountered in managing this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class members are relatively small compared to the burden and expense

that would be required to individually litigate their claims against Defendants, so it would be

impracticable for the members of the Classes to seek redress for Defendants’ wrongful conduct

individually. Even if Class members could afford individual litigation, such litigation creates a

potential for inconsistent or contradictory judgments. It increases the delay and expense to all

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parties and the court system. By contrast, a class action is suited and intended to manage such

difficulties and provide the benefits of uniform and common adjudication, economy of scale, and

comprehensive supervision.

                                        CHOICE OF LAW

        59.     Because Plaintiffs bring this Complaint in Illinois, Illinois’s choice of law regime

governs the state law allegations in this Complaint. Under Illinois’s choice of law rules, Illinois

law applies to all Class members’ claims, regardless of their state of residence or state of purchase,

as there is no conflict between Illinois’s law and the laws of other states with an interest in the

outcome of this litigation.

        60.     Additionally, Defendant Walgreens has its principal place of business in Illinois.

All Class members—even those who never set foot in Illinois but purchased Decongestant

Products—directly implicate Illinois’s interest in regulating businesses and commerce.

                                     CLAIMS FOR RELIEF

                                        COUNT I
          VIOLATION OF THE ILLINOIS CONSUMER FRAUD ACT (“ICFA”)
                          815 Ill. Comp. Stat. Ann. 505/1, et seq.
          (Walgreens, Kenvue, McNeil, Procter & Gamble, CVS, GlaxoSmithKline)

        61.     Plaintiffs repeat and re-allege the allegations contained in Paragraphs 1-60, as if

fully set forth herein.

        62.     Plaintiffs bring this claim on behalf of the Nationwide Classes or, in the alternative,

the State Classes (the “Class,” for purposes of this Count), against Defendants Walgreens, Kenvue,

McNiel, Procter & Gamble, CVS, and GlaxoSmithKline (the “Defendants” for purposes of this

Count).

        63.     At all relevant times, Plaintiffs and Defendants were each a “person,” as defined by

815 Ill. Comp. Stat. Ann. 505/1(c), and satisfy the consumer nexus test in that Defendants’ unfair

and deceptive acts and practices regarding the Decongestant Products.
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          64.   The Decongestant Products were directed at and impacted the market generally

and/or otherwise implicate consumer protection concerns. Defendants’ unfair and deceptive acts

and practices have impacted at least hundreds of thousands of consumers nationwide and in Illinois

and remedying Defendants’ wrongdoing through the relief requested herein would serve the

interests of consumers.

          65.   At all relevant and material times, Defendants’ wrongdoing alleged herein occurred

in the conduct of “trade” and “commerce” as defined in the ICFA where Defendants’ unfair and

deceptive acts and practices regarding the Decongestant Products occurred during and related

directly to the routine purchase and sale of Decongestant Products at retail outlets and/or online.

815 Ill. Comp. Stat. Ann. 505/1(f).

          66.   Under the ICFA, the use or employment of any practice described in Section 2 of

the Uniform Deceptive Trade Practices Act (“UTPA”), 815 Ill. Comp. Stat. Ann. 510/2, in the

conduct of any trade or commerce is unlawful whether any person has, in fact, been misled,

deceived, or damaged thereby.

          67.   Under Section 2 of the UTPA, 815 Ill. Comp. Stat. Ann. 510/2, a “person engages

in a deceptive trade practice when, in the course of his or her business, vocation or occupation, the

person … (12) engages in any … conduct which … creates a likelihood of confusion or

misunderstanding.”

          68.   Plaintiffs and the members of the Class have suffered losses because of Defendants’

employment of unfair or deceptive acts and practices. As alleged herein, Defendants each sold

Decongestant Products to Plaintiffs and each class member as products that provide relief for nasal

congestion. Yet Defendants knew that phenylephrine is ineffective at safe dosages when consumed

orally.



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       69.     Defendants accordingly willfully engaged in the unfair and deceptive acts and

practices described above and knew or should have known that those acts and practices were unfair

and deceptive and in violation of the ICFA.

       70.     This deception alleged herein occurred in connection with Defendants’ conduct of

trade and commerce in Illinois.

       71.     Defendants intended for Plaintiffs and the members of the Class to purchase

Decongestant Products in reliance upon Defendants’ unfair and deceptive acts and practices.

       72.     Defendants’ conduct offends public policy as set forth in 225 Ill. Comp. Stat. Ann.

85/1 & 41 and Ill. Admin. Code tit. 89, §§ 140.445, 140.447(b), and is immoral, unethical,

oppressive, or unscrupulous as described herein and caused substantial injury to consumers,

competitors, or other business. Defendants’ unjustified, inflated pricing of their Decongestant

Products is oppressive because it overcharges consumers. The pricing of Decongestant Products

is unethical and unscrupulous because it is the result of Defendants’ desire to achieve maximum

financial gain for medicine used by consumers whose medical conditions may require such

medicine.

       73.     As a direct and proximate result of Defendants’ unfair and deceptive acts and

practices, Plaintiffs and the members of the Class were deceived into paying artificially inflated

prices for Defendants’ Decongestant Products and have been damaged thereby.

       74.     Defendants are therefore liable to Plaintiffs and the members of the Class for the

damages they sustained, plus statutory damages, penalties, costs, and reasonable attorneys’ fees to

the extent provided by law.

       75.     Plaintiffs are entitled to injunctive and declaratory relief under the ICFA because

Defendants’ violations of the ICFA continue unabated and there is no adequate remedy at law to

stop Defendants’ conduct.

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        76.     Illinois has numerous contacts with the conduct alleged herein and a strong interest

in applying the ICFA to that conduct. Defendants are found, do business, or transact business

within this District. Defendants’ improper conduct set forth herein occurred in this District or was

conceived of and executed from this District in whole or in part. Defendant Walgreens’ principal

place of business in the United States is in this District, and their pricing, sales, and distribution

operations for its Decongestant Products sold throughout the United States, which form the basis

of this litigation, originate from and/or are controlled by, its offices in this District.

        77.     As such, Illinois’s contacts to this litigation make it a desirable forum for this

litigation and Illinois’s interest in applying the ICFA in this litigation outweighs any interests other

states or their laws may have.

                                   COUNT II
              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (All Defendants)

        78.     Plaintiffs repeat and reallege the allegations contained in Paragraphs 1-60, as if

fully set forth herein.

        79.     Plaintiffs bring this claim on behalf of the Nationwide Classes or, in the alternative,

the State Classes (the “Class,” for purposes of this Count).

        80.     At all times relevant all fifty States and the District of Columbia and Puerto Rico

have codified and adopted the provisions of the Uniform Commercial Code (“U.C.C.”) governing

the implied warranty of merchantability and fitness for ordinary purpose.6


6
    See, e.g., Ala. Code § 7-2-314; Alaska Stat. § 45.02.314; Ariz. Rev. Stat. Ann. § 47-2314; Ark.
Code. Ann. § 4-2-314; Cal. Com. Code § 2314; Colo. Rev. Stat. § 4-2-314; Conn. Gen. Stat. Ann.
§ 42a-2-314; 6 Del. Code. § 2-314; D.C. Code. § 28:2-314; Fla. Stat. Ann. § 672.314; Ga. Code.
Ann. § 11-2-314; Haw. Rev. Stat. § 490:2-314; Idaho Code § 28-2-314; 810 Ill. Comp. Stat. Ann.
5/2-314; Kan. Stat. Ann. § 84- 2-314; Ky. Rev. Stat. Ann. § 355.2-314; La. Civ. Code Ann. Art. §
2520; 11 Me. Rev. Stat. Ann. § 2-314; Md. Code. Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-314;
Mich. Comp. Laws Ann. § 440.2314; Minn. Stat. Ann. § 336.2-314; Miss. Code Ann. § 75-2-314;
Mo. Rev. Stat. § 400.2- 314; Mont. Code Ann. § 30-2-314; Nev. Rev. Stat. U.C.C. § 104.2314;
N.H. Rev. Ann. § 382- A:2-314; N.J. Stat. Ann. § 12A:2-314; N.M. Stat. Ann. § 55-2-314; N.Y.
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        81.     Defendants were at all times a “merchant” within the meaning of Article 2 of the

U.C.C., as codified under applicable law.

        82.     The Decongestant Products are and were “goods” within the meaning of Article 2

of the U.C.C., as codified under applicable law.

        83.     Defendants were obligated to provide Plaintiffs and the other Class members

Decongestant Products that were of merchantable quality, were reasonably fit for the purpose for

which they were sold, and conformed to the standards of the trade.

        84.     Defendants impliedly warranted that those drugs were of merchantable quality and

fit for that purpose.

        85.     Defendants breached their implied warranties, because their Decongestant Products

were not of merchantable quality or fit for their ordinary purpose.

        86.     Defendants’ breaches of implied warranties were a direct and proximate cause of

Plaintiffs’ and the other Class members’ damages.

                                       COUNT III
                          FRAUD BY OMISSION OR CONCEALMENT
                                     (All Defendants)

        87.     Plaintiffs repeat and reallege the allegations contained in Paragraphs 1-60, as if

fully set forth herein.

        88.     Plaintiffs bring this claim on behalf of the Nationwide Classes or, in the alternative,

the State Classes (the “Class,” for purposes of this Count).




U.C.C. Law § 2-314; N.C. Gen. Stat. Ann. § 25-2-314; N.D. Stat. § 41-02-314; Ohio Rev. Code
Ann. § 1302.27; Okla. Stat. tit. 12A § 2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S. § 2314; P.R.
Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36-2-314; S.D.
Stat. § 57A-2-314; Tenn. Code Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2-314; Utah
Code Ann. § 70A-2-314; Va. Code § 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code § 46-2-
314; Wash. Rev. Code § 62A 2-314; Wis. Stat. Ann. § 402.314; and Wyo. Stat. § 34.1-2-314.

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          89.   Defendants intentionally and knowingly falsely concealed, suppressed and/or

omitted material facts including as to the standard, quality or grade of the Decongestant Products.

Due to their fraudulent conduct, Plaintiffs and the other Class members have suffered actual

damages.

          90.   Defendants knew that phenylephrine is ineffective at safe dosages when consumed

orally.

          91.   Defendants were obligated to inform Plaintiff and the other members of the Class

of the effectiveness of phenylephrine due to their exclusive and superior knowledge of the

Decongestant Products. Plaintiffs and other Class members also expressly reposed a trust and

confidence in Defendants because the nature of their dealings as healthcare entities and with

Plaintiffs and other members of the Class as their consumers.

          92.   Plaintiffs and the other Class members would not have purchased the Decongestant

Products but for Defendants’ omissions and concealment of material facts regarding the nature and

quality of the Decongestant Products and existence of the Decongestant Products, or would have

paid less for the Decongestant Products.

          93.   Defendants knew their concealment and suppression of material facts was false and

misleading and knew the effect of concealing those material facts.

          94.   Defendants acted with malice, oppression, and fraud.

          95.   Plaintiffs and the other Class members reasonably relied on Defendants’ knowing,

affirmative, and active false concealment and omissions. As a direct and proximate result of

Defendants’ omissions and active concealment of material facts regarding the Decongestant

Products, Plaintiffs and the other Class members have suffered actual damages in an amount to be

determined at trial.



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                                          COUNT IV
                                     UNJUST ENRICHMENT
                                        (All Defendants)

          96.    Plaintiffs repeat and reallege the allegations contained in Paragraphs 1-60, as if

fully set forth herein.

          97.    Plaintiffs brings this claim on behalf of the nationwide Class or, in the alternative,

the State Classes (the “Class,” for purposes of this Count).

          98.    There are no material differences in the elements of the unjust enrichment cause of

action in the various states. In all states, the focus of an unjust enrichment claim is whether the

defendant was unjustly enriched. At the core of each state’s law are two fundamental elements –

the defendant received a benefit from the plaintiff and it would be inequitable for the defendant to

retain that benefit without compensating the plaintiff. The focus of the inquiry is the same in each

state. Since there is no material conflict relating to the elements of unjust enrichment between the

different jurisdictions from which class members will be drawn, Illinois law applies to those

claims.

          99.    Defendants’ efforts include, but are not limited to, providing point-of-sale materials

and coupons to entice Plaintiffs and the other Class members to purchase Decongestant Products.

          100.   It would be inequitable for Defendants to insulate themselves from liability on this

unjust enrichment claim by asserting that retail sales by their retailers cuts off any relationship

between Plaintiffs and the Classes and Defendants because Plaintiffs and the other Class members

cannot seek a remedy directly from Defendants’ retailers based on Defendants’ sale of the

Decongestant Products.

          101.   Plaintiffs and all other Class members conferred a benefit on Defendants by

purchasing Decongestant Products.



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       102.     Defendants have been unjustly enriched in retaining the revenues derived from

Class members’ purchases of Decongestant Products, which retention under these circumstances

is unjust and inequitable because Defendants sold the Decongestant Products as purportedly

effective for providing congestion relief when in fact they were not, which caused injuries to

Plaintiffs and all Class members because they paid a price premium due to Defendants’ deception.

       103.     Because Defendants’ retention of the non-gratuitous benefit conferred on it by

Plaintiffs and all Class members is unjust and inequitable, Defendants must pay restitution to

Plaintiffs and the Class members for their unjust enrichment, as ordered by the Court.

       104.     Plaintiffs and Class members have no adequate remedy at law.

                                     COUNT V
                    VIOLATION OF THE FLORDIA DECEPTIVE AND
                         UNFAIR TRADE PRACTICES ACT
                             Fla. Stat. §§ 501.201 et seq.
                                (Publix, Walgreens)
       105.     Plaintiff Varela (“Plaintiff,” for purposes of this Count) repeats and realleges

paragraphs 1-60 as if fully set forth herein.

       106.     Plaintiff brings this claim on behalf of the Florida Class (the “Class,” for purposes

of this Count) against Defendants Publix and Walgreens (the “Defendants,” for purposes of this

Count).

       107.     At all relevant times, Plaintiff and Class members were “consumers” within the

meaning of the Florida Deceptive and Unfair Trade Practices Act (“Florida DUTPA”), Fla. Stat.

§ 501.203(7).

       108.     Defendants were at all relevant times engaged in “trade or commerce” within the

meaning of the Florida DUTPA. Fla. Stat. § 501.203(8).

       109.     The Florida DUTPA prohibits “[u]nfair methods of competition, unconscionable

acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or


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commerce . . . .” Fla. Stat. § 501.204(1). Defendants participated in unfair and deceptive trade

practices that violated Florida DUTPA. As alleged herein, Defendants each sold Decongestant

Products to Plaintiff and each class member as products that provide relief for nasal congestion.

Yet Defendants knew that phenylephrine is ineffective at safe dosages when consumed orally.

       110.    Defendants’ unfair or deceptive acts or practices, including these concealments,

omissions, and suppressions of material facts: (a) had a tendency or capacity to mislead and create

a false impression in consumers; and (b) were likely to and did deceive reasonable consumers,

including Plaintiff, about the effectiveness of phenylephrine and the true value of the Decongestant

Products Defendants sold.

       111.    Defendants knew or should have known that their conduct violated the Florida

DUTPA.

       112.    As a direct and proximate result of Defendants’ unfair and deceptive acts and

practices, Plaintiff and Class members were deceived into paying artificially inflated prices for

Defendants’ Decongestant Products and have been damaged thereby.

       113.    Plaintiff and Class members are entitled to recover their actual damages under Fla.

Stat. § 501.211(2) and attorneys’ fees under Fla. Stat. § 501.2105(1).

       114.    Plaintiff and Class members also seek an order enjoining Defendants’ unfair,

unlawful, and/or deceptive practices, declaratory relief, attorneys’ fees and costs, and any other

just and proper relief available under the Florida DUTPA. Additionally, Plaintiff and Class

members seek punitive damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the other Class members,

respectfully request that the Court enter judgement in their favor and against Defendants, as

follows:

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       A.      Certification of the proposed Classes and appointment of Plaintiffs as Class

representatives;

       B.      Appointment of Plaintiffs’ counsel as Class Counsel;

       C.      Injunctive relief, including, but not limited to:

               1.     A requirement for Defendants to make full disclosure of their knowledge of

the efficacy of their Decongestant Products;

               2.     Disgorgement of their profits from the sales of their Decongestant Products;

               3.     Damages, including punitive damages, costs, and disgorgement in an

amount to be determined at trial;

               4.     An order requiring Defendants to pay both pre- and post-judgment interest

on all amounts awarded;

       D.      An award of costs and attorneys’ fees; and

       E.      Such other further relief as may be appropriate.




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                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a jury trial for all claims so triable.



Dated: September 25, 2023



                                       Respectfully submitted,



 /s/ Adam. J. Levitt
 Adam J. Levitt                                          Christopher A. Seeger
 John E. Tangren                                         David R. Buchanan
 Daniel R. Schwartz                                      Scott A. George
 Blake Stubbs                                            SEEGER WEISS LLP
 DICELLO LEVITT LLP                                      55 Challenger Road, 6th Floor
 Ten North Dearborn Street, Sixth Floor                  Ridgefield Park, New Jersey 07660
 Chicago, Illinois 60602                                 Telephone: (973) 639-9100
 Telephone: (312) 214-7900                               cseeger@seegerweiss.com
 alevitt@dicellolevitt.com                               dbuchanan@seegerweiss.com
 jtangren@dicellolevitt.com                              sgeorge@seegerweiss.com
 dschwartz@dicellolevitt.com
 bstubbs@dicellolevitt.com

 James E. Cecchi                                         Paul J. Geller
 Donald A. Ecklund                                       Stuart A. Davidson
 Jordan M. Steele                                        ROBBINS GELLER RUDMAN
 CARELLA, BYRNE, CECCHI,                                  & DOWD LLP
   BRODY & AGNELLO, P.C.                                 225 NE Mizner Boulevard, Suite 720
 5 Becker Farm Road                                      Boca Raton, Florida 33432
 Roseland, New Jersey 07068                              Telephone: (561) 750-3000
 Telephone: (973) 994-1700                               pgeller@rgrdlaw.com
 jcecchi@carellabyrne.com                                sdavidson@rgrdlaw.com
 decklund@carellabyrne.com
 jsteele@carellabyrne.com




                        Counsel for Plaintiffs and the Proposed Classes



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